[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION ON PLAINTIFF'S APPLICATION FOR PREJUDGMENT REMEDY
For the following reasons the application for a prejudgment attachment is hereby DENIED. The plaintiff has failed to establish that there is probable cause that it will prove at trial that the parties reached a meeting of the minds regarding the terms of the contract at issue. This conclusion is based on the following findings:
1. The payment terms offered in plaintiff's purchase orders Numbers 1516 and 1517 provided that 50 percent of the payment would be made in 30 days and the balance would be made in 60 days. These terms had not been discussed with or agreed to by the defendant for this specific contract. Although such payment terms had been accepted for a previous large order which was never consummated, the court does not accept plaintiff's contention that defendant actually agreed or intended to agree for such terms to apply to all future, large contracts regardless of the other conditions or specific circumstances. The court credits the testimony of both witnesses for plaintiff and defendant that the terms of contracts of this nature are negotiated and determined on a case-by-case basis.
2. There were other important, but less significant, terms of the purchase orders, which also were not explicitly agreed to by defendant: that the defendant would pay the loading costs; that storage charges against plaintiff would not commence before August 1, 1996; and that the tonnage to be purchased would be by "mectric ton."
3. In all prior consummated transactions between the parties, the defendant confirmed acceptance of the terms of the purchase CT Page 5325-VVV order with a confirmation letter. No confirmation letter was received for the order in dispute.
So Ordered.
Dated this 19th of September, 1996.
STEVENS, JUDGE